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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

             v.
                                             Case Number: 09-cr-117-
                                                  01/09-13/15-18-SM

Trevor Allain, Thomas Donahue,
Jeremie St. Pierre, James W. Molfetta,
Michael Gardner, Derek M. Dutcher,
Mathieu Nantais and Jonathan Sauriol
      Defendants

                                      ORDER


      Defendant Gardner’s motion to continue the final pretrial conference and

trial is granted (document no. 54).    Trial has been rescheduled for the month of

November 2009. Defendant Gardner shall file a waiver of speedy trial rights not

later than July 20, 2009. On the filing of such waiver, his continuance shall be

effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective
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preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference is rescheduled for October 19, 2009 at

1:30 p.m. in Room 421.

      Jury selection will take place on November 3, 2009 at 9:30 a.m.



      SO ORDERED.



                                      _________________________
                                        Steven J. McAuliffe
                                            Chief Judge


July 7, 2009

cc:   Jaye Rancourt, Esq.
      David Ruoff, Esq.
      Richard Monteith, Esq.
      Lawrence Vogelman, Esq.
      Paul Garrity, Esq.
      James Dennehy, Esq.
      Richard Hubbard, Esq.
      Donald Kennedy, Esq.
      Debra Walsh, AUSA
      U.S. Marshal
      U.S. Probation




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